                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 24-1113                                                     September Term, 2023
                                                                        DOJ- Pub. L. No. 118-50
                                                       Filed On: May 15, 2024 [2054548]
TikTok Inc. and ByteDance Ltd.,

                   Petitioners

         v.

Merrick B. Garland, in his official capacity
as Attorney General of the United States,

                   Respondent


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Consolidated with 24-1130

                                             ORDER

       It is ORDERED, on the court's own motion, that these cases be consolidated.
Petitioners in case no. 24-1130 are directed to file the following document(s) by the
indicated date(s):

          Docketing Statement Form                                         June 14, 2024
          Statement of Issues to be Raised                                 June 14, 2024

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Erica M. Thorner
                                                              Deputy Clerk

The following forms and notices are available on the Court's website:

         Agency Docketing Statement Form
